                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION


CARPENTERS’ PENSION TRUST                      )
FUND OF KANSAS CITY, et al.,                   )
                                               )
                 Plaintiffs,                   )
                                               )
vs.                                            )       Case No. 18-00905-CV-W-GAF
                                               )
MORGAN’S FLOORING, LLC,                        )
                                               )
                        Defendant.             )

                                              ORDER

         Now before the Court is Plaintiffs’ Carpenters District Council of Kansas City Pension

 Fund, Carpenters Health and Welfare Trust Fund of St. Louis, Carpenters Joint Training Fund

 of St. Louis, Carpenters Vacation Trust Fund of St. Louis, St. Louis-Kansas City Carpenters

 Regional Council, and each fund’s respective trustees (collectively, “Plaintiffs”) Motion for

 default judgment in the above-entitled cause for default judgment pursuant to Rule 55(b)(2) of

 the Federal Rules of Civil Procedure against Defendant Morgan’s Flooring, LLC

 (“Defendant”). (Doc. # 4). The Court finds as follows:

      1. Plaintiffs state that their Complaint in this cause against Defendant herein was filed on

         November 13, 2018 (Doc. # 1); Defendant was served through Registered Agent Lorie

         Beasley by Special Process Server with a copy of the Summons and Complaint on

         December 4, 2018, at 906 South St. Louis Street, Concordia, MO 64020 (Doc. # 3), and

         therefore the Court has jurisdiction over said Defendant.

      2. This action arises and subject matter jurisdiction is properly based on Section 301 of the

         Labor Management Relations Act as amended, 29 U.S.C. §185, and Section 502 of the



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       Employee Retirement Income Security Act, 29 U.S.C. §1132, and therefore the Court has

       subject matter jurisdiction over the within cause.

   3. Defendant has failed to answer or otherwise defend as to Plaintiffs' Complaint, or serve

       a copy of any answer or other defense upon Plaintiffs' attorneys of record or upon

       Plaintiffs.

   4. Plaintiffs have heretofore filed in the within cause on November 13, 2018, the following

       pleadings and caused the same to be mailed by certified mail to: Lorie Beasley,

       Registered Agent, 906 South St. Louis Street, Concordia, MO 64020.

           a. Plaintiffs' Motion for Default Judgment by the Court (Pursuant to Rule 55(b)(2)

               Federal Rules of Civil Procedure) (Doc. # 4);

           b. Suggestions in Support of Plaintiffs' Motion for Default Judgment by the Court

               (Doc. # 5); and

           c. Plaintiffs' Affidavit of Failure to Plead or Otherwise Defend in Support of

               Application for Entry for Default as Required by Rule 55(a) Federal Rules of

               Civil Procedure (Doc. # 5-1).

  5.   The Court entered a show-cause order on January 9, 2019 (Doc. # 8), directing

       Defendant to show cause why default judgment should not be entered against it and

       caused said Order to be mailed by certified mail to: Lorie Beasley, Registered Agent, 906

       South St. Louis Street, Concordia, MO 64020.

   6. No proceedings have been made by Defendant since the institution of this action or the

       aforementioned Order of the Court to show cause why default judgment should not be

       entered.

       Accordingly, Plaintiffs’ Motion for Default Judgment (Doc. # 4) is GRANTED and

pursuant to Federal Rule of Civil Procedure 55(b)(2), the following judgment is ORDERED:

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                                          COUNT I

1. Defendant is hereby ordered to permit an accounting of Defendant's business books,

   records, ledgers and other papers and documents pertaining to the compensation paid to

   employees, hours worked by employees, monies withheld from employees for taxes paid

   on account of employees and any additional records or documents relevant to and of

   assistance in determining the total number of hours worked and/or paid to employees

   within the jurisdiction of the collective bargaining agreements and Trust Agreement for

   the period September 25, 2017, to date.

2. That Plaintiff, Carpenters District Council of Kansas City Pension Fund, have and recover

   of and from Defendant a sum of money as unpaid fringe benefit contributions equal to

   the number of hours found by said accounting to have been paid to employees covered

   by said agreements from September 25, 2017, to date times the hourly amounts due under

   said agreements and that the assessment of liquidated damages, attorneys' fees, audit

   costs, interest, court costs and judgment for same be reserved until a full and complete

   accounting of Defendant's books and records has been completed and the specific total

   amounts due and owing by Defendant to Plaintiff for said period can be ascertained.

3. That Defendant specifically perform the provisions of the collective bargaining

   agreements and Trust Agreements, present and future, relating to the reporting and

   payment of fringe benefits contributions to the Carpenters District Council of Kansas City

   Pension Fund on behalf of employees working under the collective bargaining

   agreements.

4. That Defendant put up cash deposits in advance of work and/or enter into an escrow

   arrangement with Plaintiff or post a corporate bond guaranteeing performance under the

   collective bargaining agreement and Trust Agreement.

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5. That Defendant maintain records with respect to each employee sufficient to determine

   the fringe benefits due or which may become due to such employees as required by

   Section 209 of Employee Retirement Income Security Act of 1974, 29 U.S.C. §1059.

                                      COUNT II
1. Defendant is hereby ordered to permit an accounting of Defendant's business books,

   records, ledgers and other papers and documents pertaining to the compensation paid to

   employees, hours worked by employees, monies withheld from employees for taxes paid

   on account of employees and any additional records or documents relevant to and of

   assistance in determining the total number of hours worked and/or paid to employees

   within the jurisdiction of the collective bargaining agreements and Trust Agreement for

   the period of September 25, 2017, to date.

2. That Plaintiff, Carpenters Health and Welfare Trust Fund of St. Louis, have and recover

   of and from Defendant a sum of money as unpaid fringe benefit contributions equal to the

   number of hours found by said accounting to have been paid to employees covered by

   said agreements from September 25, 2017, to date times the hourly amounts due under

   said agreements and that the assessment of liquidated damages, attorneys' fees, audit

   costs, interest, court costs and judgment for same be reserved until a full and complete

   accounting of Defendant's books and records has been completed and the specific total

   amounts due and owing by Defendant to Plaintiff for said period can be ascertained.

3. That Defendant specifically perform the provisions of the collective bargaining

   agreements and Trust Agreements, present and future, relating to the reporting and

   payment of fringe benefits contributions to the Carpenters Health and Welfare Trust Fund

   of St. Louis on behalf of employees working under the collective bargaining agreements.

4. That Defendant put up cash deposits in advance of work and/or enter into an escrow

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   arrangement with Plaintiff or post a corporate bond guaranteeing performance under the

   collective bargaining agreement and Trust Agreement.

5. That Defendant maintain records with respect to each employee sufficient to determine

   the fringe benefits due or which may become due to such employees as required by

   Section 209 of Employee Retirement Income Security Act of 1974, 29 U.S.C. §1059.

                                      COUNT III
1. Defendant is hereby ordered to permit an accounting of Defendant's business books,

   records, ledgers and other papers and documents pertaining to the compensation paid to

   employees, hours worked by employees, monies withheld from employees for taxes paid

   on account of employees and any additional records or documents relevant to and of

   assistance in determining the total number of hours worked and/or paid to employees

   within the jurisdiction of the collective bargaining agreements and Trust Agreement for

   the period September 25, 2017, to date.

2. That Plaintiff, Carpenters Vacation Trust Fund of St. Louis, have and recover of and from

   Defendant a sum of money as unpaid fringe benefit contributions equal to the number of

   hours found by said accounting to have been paid to employees covered by said

   agreements from September 25, 2017, to date times the hourly amounts due under said

   agreements and that the assessment of liquidated damages, attorneys' fees, audit costs,

   interest, court costs and judgment for same be reserved until a full and complete

   accounting of Defendant's books and records has been completed and the specific total

   amounts due and owing by Defendant to Plaintiff for said period can be ascertained.

3. That Defendant specifically perform the provisions of the collective bargaining

   agreements and Trust Agreements, present and future, relating to the reporting and

   payment of fringe benefits contributions to the Carpenters Vacation Trust Fund of St.

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   Louis, on behalf of employees working under the collective bargaining agreements.

4. That Defendant put up cash deposits in advance of work and/or enter into an escrow

   arrangement with Plaintiff or post a corporate bond guaranteeing performance under the

   collective bargaining agreement and Trust Agreement.

5. That Defendant maintain records with respect to each employee sufficient to determine

   the fringe benefits due or which may become due to such employees as required by

   Section 209 of Employee Retirement Income Security Act of 1974, 29 U.S.C. §1059.

                                      COUNT IV
1. Defendant is hereby ordered to permit an accounting of Defendant's business books,

   records, ledgers and other papers and documents pertaining to the compensation paid to

   employees, hours worked by employees, monies withheld from employees for taxes paid

   on account of employees and any additional records or documents relevant to and of

   assistance in determining the total number of hours worked and/or paid to employees

   within the jurisdiction of the collective bargaining agreements and Trust Agreement for

   the period September 25, 2017, to date.

2. That Plaintiff, Carpenters Joint Training Fund of St. Louis, have and recover of and from

   Defendant a sum of money as unpaid fringe benefit contributions equal to the number of

   hours found by said accounting to have been paid to employees covered by said

   agreements from September 25, 2017, to date times the hourly amounts due under said

   agreements and that the assessment of liquidated damages, attorneys' fees, audit costs,

   interest, court costs and judgment for same be reserved until a full and complete

   accounting of Defendant's books and records has been completed and the specific total

   amounts due and owing by Defendant to Plaintiff for said period can be ascertained.

3. That Defendant specifically perform the provisions of the collective bargaining

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   agreements and Trust Agreements, present and future, relating to the reporting and

   payment of fringe benefits contributions to the Carpenters Joint Training Fund of St.

   Louis on behalf of employees working under the collective bargaining agreements.

4. That Defendant put up cash deposits in advance of work and/or enter into an escrow

   arrangement with Plaintiff or post a corporate bond guaranteeing performance under the

   collective bargaining agreement and Trust Agreement.

5. That Defendant maintain records with respect to each employee sufficient to determine

   the fringe benefits due or which may become due to such employees as required by

   Section 209 of Employee Retirement Income Security Act of 1974, 29 U.S.C. §1059.

                                       COUNT V
1. Defendant is hereby ordered to permit an accounting of Defendant's business books,

   records, ledgers and other papers and documents pertaining to the compensation paid to

   employees, hours worked by employees, monies withheld from employees for taxes paid

   on account of employees and any additional records or documents relevant to and of

   assistance in determining the total number of hours worked and/or paid to employees

   within the jurisdiction of the collective bargaining agreements for the period September

   25, 2017, to date.

2. That Plaintiff, St. Louis-Kansas City Carpenters Regional Council, have and recover of

   and from Defendant a sum of money as unpaid dues equal to the number of hours found

   by said accounting to have been paid to employees covered by said agreements from

   September 25, 2017, to date times the hourly amounts due under said agreements and

   that the assessment of attorneys' fees, audit costs, interest, court costs and judgment for

   same be reserved until a full and complete accounting of Defendant's books and records

   has been completed and the specific total amounts due and owing by Defendant to

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      Plaintiff for said period can be ascertained.

   3. That Defendant specifically perform the provisions of the collective bargaining

      agreements, present and future, relating to the reporting and payment of dues to the St.

      Louis- Kansas City Carpenters Regional Council on behalf of employees working under

      the collective bargaining agreements.


       IT IS SO ORDERED.




                                                      s/ Gary A. Fenner
                                                      GARY A. FENNER, JUDGE
                                                      UNITED STATES DISTRICT COURT

DATED: January 30, 2019




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